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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

THOMAS SIERRA,                                         )
                                                       )
               Plaintiff                               )
                                                       )       Case No. 18-cv-3029
       v.                                              )       Hon. John Z. Lee
                                                       )       Magistrate M. David Weisman
REYNALDO GUEVARA, et. al.                              )
                                                       )
               Defendants,                             )
                                                       )
                                                       )

        STATUS REPORT REGARDING MONELL DOCUMENT PRODUCTION

       On December 3, 2019, the Court ordered Defendant City of Chicago (the “City”) to

produce complaint register (CR) files for all detectives assigned to the Area 5 Detective Division

of the Chicago Police Department where the complaint was initiated against one of the detectives

assigned to the Area between 1991 and 1995. The Court further ordered the City to produce

investigative files for homicides occurring between 1991 and 1995 in Area 5. The City filed a

motion for reconsideration and clarification regarding the Court’s order pertaining to investigative

files, which is now fully briefed. (Dkt. 156, 158). On December 19, the Court ordered the City to

file the instant status report as to the scope and timing of the production outlined in the Court’s

December 3, 2019 order. (Dkt. 155).

                                     Complaint Register Files

       CPD does not maintain CR files in such that they are easily searchable by the parameters

set by the Court. Rather, to obtain the relevant CR files, the City first must determine who the

detectives were assigned to Area 5 during 1991 and 1995. CPD does not maintain records of

which detectives were assigned to Area 5 during that particular time frame electronically. For
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that reason, CPD must gather that data from multiple sources to generate a list of the detectives,

and because the data available to query is migrated from older systems, the list generated could

possibly be incomplete or inaccurate due to potential data conversation errors or inaccuracies in

previous systems. Nevertheless, CPD can generate the list of the detectives to its best

approximation. Once the list of detectives is generated, the City will then request from CPD

each of the detectives’ complaint histories. From there, the City’s counsel will review the

histories and identify those CR files for which the complaint was initiated during 1991 and 1995,

and request those specific files.

       As this Court is aware, the City was ordered to produce CR files for Area 5 detectives

from 1995 to 1998 timeframe in the consolidated cases of Solache v. Guevara, et al. and Reyes v.

Guevara, et al. Those cases provide for the time frame of production of CR files here. In

Solache and Reyes, it took the City approximately ten days to determine that there were

approximately 199 detectives assigned to Area 5 during the relevant time period. It then took

approximately five weeks for CPD to provide the complaint histories to the City’s counsel. Once

received, the City reviewed the histories, which comprised of over 1600 pages, and generated the

list of relevant CR files. From there, the City removed duplicate CR files from the list and cross-

checked with the list of files the City’s counsel already possesses in other related litigation. The

City reached a total of 338 CRs to request. Now that the list of relevant CR files has been

generated, the City estimates it will take approximately three months to scan, redact, and review

the files for production.

       There is one year of overlap in CR file production from the Solache and Reyes cases and

this case. Accordingly, the City estimates it will take approximately five to six months to

produce the CR files ordered in this case.
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                                                  Investigative Files

           To produce the relevant Area 5 homicide files from 1991 to 1995, the City first needs to

determine the Records Division (RD) number for each of the homicides. The City will then

determine, of those homicide cases, which homicide investigations are cleared/closed, meaning

at least one person was charged and the case is no longer an open investigation. The City is

working to make that determination but expects the number of files to be approximately 300 to

400 files. Once the list is generated, CPD estimates that it will take at least seven to ten business

days to search for the requested files.

           After the files are located, 1 CPD estimates that hand scanning each page of

approximately 300 investigative files may take 450 hours. Investigative files do not simply

contain standard 8½ x 11 sheets of paper. Rather, they contain documents from form sets that

are thin pieces of paper, and they also often contain things like newspaper clippings or notes

from note pads that do not feed easily into a scanner. While some files are smaller, and may take

little time to scan, others may contain VHS tapes or other media that would prolong the time for

copying. If it will take approximately 450 hours to produce 300 files, and if one person devotes

their full workday to this project, it may take 13 weeks, or over three months, to complete. But it

is unlikely that CPD personnel will have the opportunity to devote their full workday to this

request. Once the files are scanned, the City will have to review them before production for any

privileged information. It will take the City approximately eight weeks to review 300 files.

           Accordingly, the City estimates approximately five months to produce the requested

investigative files. In addition, it appears the Court’s December 3 order also requires the City to

produce the corresponding Records Division file for each of the homicide cases. Those files are



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    There are occasions when, due to the passage of time, investigative files cannot be located.
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often smaller, and they will be less burdensome to scan than investigative files, but the same

personnel would be responsible for identifying and scanning those files, necessarily adding to the

length of time required to produce all of the files Plaintiffs are seeking.

 Dated: January 17, 2020                            Respectfully submitted,

                                                    CITY OF CHICAGO

                                                    By:        /s/ Eileen E. Rosen___
                                                               One of its attorneys

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